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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


PROLITEC INC.,                                         §
                                                       §
         Plaintiff,                                    §
                                                       §
         v.                                            §           Civil Action No. 20-984-WCB
                                                       §
SCENTAIR TECHNOLOGIES, LLC,                            §
                                                       §
         Defendant.                                    §



                                                   ORDER

         The parties have submitted a proposed schedule relating to pretrial exchanges for the

court’s approval. I have made some alterations in the proposed schedule to accommodate certain

procedures that are designed to make the trial go more smoothly. In the sections below, I set forth

an explanation of the pretrial procedures I intend employ in this case. That explanation is followed

by a revised schedule for pretrial exchanges.

         With respect to the exhibits the parties intend to offer at trial, the court will endeavor to

resolve most, if not all, questions of admissibility in advance of the trial. The court notes that it is a

common practice for parties in patent cases to include in the proposed joint pretrial order a huge number of

exhibits and for each party to object to a large percentage of the opposing party’s exhibits. That exercise

is counterproductive as it offers very few benefits and tends to create significant additional work for the

parties and for the court. In their proposals relating to the joint pretrial order and in the meet and confer on

the joint pretrial order, each party is directed to include only those exhibits it believes it will actually offer

at trial, and each party is also directed to reduce the number of its objections to those it seriously intends to

press at trial.

         In the event that there are more than 25 remaining disputes over the admissibility of the trial exhibits
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after the parties meet and confer, I will conduct an off-the-record meeting with counsel for both parties on

January 4, 2024, in my chambers in Washington, D.C. Lead trial counsel for each party will be required to

attend. Delaware counsel will not be required to attend. The purpose of the meeting will be to resolve the

admissibility of the remaining disputed exhibits prior to trial so as not to consume either party’s trial time

with disputes over the admissibility of exhibits. The meeting will continue for as long as it takes to resolve

those disputes. I will then enter an order indicating which exhibits have been pre-qualified for admission

at trial. I expect both parties to act in good faith in making this process work. If I conclude that either party

is uncooperative in submitting a realistic proposed exhibit list, I will impose a limit on the number of

exhibits that party may admit at trial.

        If there are 25 or fewer remaining disputes over the admissibility of the trial exhibits after the

parties meet and confer on the admissibility of the exhibits, I will conduct the meeting on exhibits by

telephone. By no later than December 29, 2023, at 5:00 p.m. Eastern Time, the parties should provide the

court with a list of the exhibits that remain in dispute, a copy of digital versions of each of those exhibits,

and the basis for any objection or objections to each of those exhibits.

        If there are any remaining disputes about deposition designations after the parties meet and

confer on their respective designations and counter designations, the disputes over the designations

will be handled in the same manner as the disputes over exhibits. Any disputes over designations

and counter-designations will be added to the disputes over exhibits and will be resolved either at

the meeting on exhibits on January 4, 2024, or during the telephonic conference in the event that

the total number of disputes over exhibits and deposition designations is less than 25.

        With these procedures and dates in mind, the following schedule for pretrial exchanges is

adopted:
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           Pretrial Item                           Date

  Plaintiff provides draft of                December 1, 2023
  Pretrial Order (with sections
  under L.R. 16.3(c)(1-13)),
  including any affirmative
  Deposition Designations for
  witnesses to be called by
  deposition and Plaintiff’s
  Exhibit List.

  Plaintiff also provides drafts of
  Voir Dire, Verdict Form,
  Preliminary Jury Instructions,
  Final Jury Instructions

  Defendant provides                         December 8, 2023
  affirmative Deposition
  Designations for witnesses to
  be called by deposition; any
  Objections to Plaintiff’s
  affirmative Deposition
  Designations; and any Counter-
  Deposition Designations

  Parties Exchange Lists of                  December 12, 2023
  Potential Motions In Limine

  Parties Meet and Confer to                 December 14, 2023
  Narrow Issues Regarding
  Motions In Limine

  Defendant provides redlined                December 15, 2023
  drafts of Pretrial Order (with
  sections under L.R. 16.3(c)(1-
  13)), including any
  Objections to Plaintiff’s
  Exhibit List, and Defendant’s
  Exhibit List (including
  identification of Joint
  Exhibits)

  Defendant also provides
  redlined drafts of Voir Dire,
  Verdict Form, Preliminary
  Jury Instructions, Final Jury
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  Instructions.

  Plaintiff provides Objections
  to Defendant’s affirmative
  Deposition Designations, and
  provides any Counter-Counter
  Designations in response to
  Defendant’s Counter-
  Designations

  Parties exchange Motions In                December 19, 2023
  Limine.

  Defendant provides Objections
  to Plaintiff’s Counter-Counter
  Designations and provides any
  Counter-Counter Designations
  in response to Plaintiff’s
  Counter-Counter Designations
  Plaintiff provides any                     December 22, 2023
  Objections to Defendant’s
  Exhibit List and to
  Defendant’s Counter-
  Counter Designations

  Parties meet and confer to                 December 27, 2023
  reduce the number of
  disputes over exhibits as
  much as possible.

  Parties provide court with                 December 29, 2023
  list of exhibits and
  electronic copies of all
  exhibits each party
  intends to offer at trial
  that are still objected to at
  that time and exchange
  Motions In Limine
  Responses

  Parties Meet and Confer                     January 3, 2024
  Regarding Pretrial Order,
  Jury Instructions, Proposed
  Voir Dire, and Special
  Verdict Form
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 Court conducts an Off-the-                              January 4, 2024
 record meeting (in chambers
 if there are more than 25
 remaining disputes over
 admissibility of trial exhibits
 and deposition designations;
 otherwise by telephone)

 Parties exchange Motion In                              January 5, 2024
 Limine Replies

 File Final Pretrial Order                               January 8, 2024
                                   (fourth business day before Pretrial Conference, unchanged)

 File Preliminary and                                    January 8, 2024
 Proposed Jury Instructions,       (fourth business day before Pretrial Conference, unchanged)
 Voir Dire, and Verdict Form

 Parties exchange final                                  January 10, 2024
 stamped PDF Copies of
 Exhibits and Native Files
 identified on Exhibit Lists

 Pretrial Conference                               January 12, 2024 at 8:30 a.m.
                                                           (unchanged)

 Trial                                        January 22, 2024 – January 26, 2024
                                                          (unchanged)




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     SIGNED this 8th day of August, 2023.



                                                ______________________________
                                                WILLIAM C. BRYSON
                                                UNITED STATES CIRCUIT JUDGE




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